                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:02CR5-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                 ORDER
                                    )
PERRY WAYNE LACKEY,                 )
                  Defendant.        )
____________________________________)


       THIS MATTER is before the Court on Defendant’s Pro Se Motion For Early Termination

Of Supervised Release, filed July 14, 2010. (Document #263) The Government did not submit a

response to Defendant’s motion.

       On May 5, 2003 , Defendant was sentenced to sixty-three (63) months imprisonment for

violating 21 U.S.C. § 846. Defendant has since completed his active sentence, and is currently

serving a four-year term of supervised release.

       Defendant requests that his supervised release be terminated as successfully completed

pursuant to 18 U.S.C. §3583(e). As of January 2011, Defendant has been on supervised release for

three (3) years without incident. Defendant’s supervising probation officer, Gregg Henderson,

advises that Defendant reports for visits as directed, that Defendant has satisfied his financial

obligations, that Defendant is employed and has been permitted to engage in work-related travel out

of district without difficulty, that all of Defendant’s urinalysis tests have been negative, and that

NCIC (as well as state and local records) confirms Defendant has not had any new arrests.

Therefore, the Court, in its discretion, will authorize early termination of supervision.




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  IT IS, THEREFORE, ORDERED THAT:

  1) Defendant’s Motion To Terminate Supervised Release is hereby GRANTED; and

  2) The Deputy Clerk shall forward a copy of this Order to the Defendant, Defense Counsel,

  U.S. Attorney’s Office, and U.S. Probation.




                                          Signed: January 18, 2011




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